                     Case 1-22-41393-ess                  Doc 1          Filed 06/16/22          Entered 06/16/22 17:33:59
     Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     Eastern               District
             District of New  York  of _________________
                                       (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                                 Chapter 7
                                                              
                                                              ✔
                                                              
                                                                  Chapter 11
                                                                  Chapter 12
                                                                                                                                         Check if this is an
                                                                 Chapter 13                                                                amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                            04/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         Neighborhood     Radiology Management Services, LLC
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                                 Mailing address, if different from principal place
                                                                                                        of business
                                               113-20 Queens Blvd.                                      _______________________________________________
                                            ______________________________________________
                                            Number     Street                                           Number     Street

                                            ______________________________________________              _______________________________________________
                                                                                                        P.O. Box

                                               Forest Hills                    NY   11375
                                            ______________________________________________              _______________________________________________
                                            City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                               Queens County
                                            ______________________________________________
                                            County                                                      _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.    Debtor’s website (URL)                ____________________________________________________________________________________________________


6.    Type of debtor                        
                                            ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                             Partnership (excluding LLP)
                                             Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                       Case 1-22-41393-ess             Doc 1           Filed 06/16/22              Entered 06/16/22 17:33:59


                Neighborhood Radiology Management Services, LLC
Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                Name



                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         
                                         ✔ None of the above




                                         B. Check all that apply:

                                          Tax-exempt entity (as described in 26 U.S.C. § 501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            561110
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?                      Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                             4/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a
                                                             small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these documents do
                                                             not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it chooses to
                                                             proceed under Subchapter V of Chapter 11.

                                                                   A plan is being filed with this petition.

                                                               Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                             accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities
                                                             and Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934.
                                                             File the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter
                                                             11 (Official Form 201A) with this form.

                                                                   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          Neighborhood Radiology Services PC                                   Affiliate
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                               EDNY
                                                   District _____________________________________________ When                  __________________
      List all cases. If more than 1,                                                                                           MM / DD / YYYY
      attach a separate list.
                                                                          22
                                                   Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 2
                     Case 1-22-41393-ess                   Doc 1        Filed 06/16/22            Entered 06/16/22 17:33:59


              Neighborhood Radiology Management Services, LLC
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                             ✔




12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49                             1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199
                                             ✔
                                                                               10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000
                                             ✔
                                                                               $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000                 $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 3
                      Case 1-22-41393-ess                  Doc 1         Filed 06/16/22           Entered 06/16/22 17:33:59


               Neighborhood Radiology Management Services, LLC
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million
                                                                                   ✔
                                                                                                                          $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                               petition.
      debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                               correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              06/16/2022
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Daniel DiPietro
                                               _____________________________________________               Daniel DiPietro
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Manager
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Dawn Kirby
                                               _____________________________________________              Date         06/16/2022
                                                                                                                       _________________
                                                Signature of attorney for debtor                                       MM   / DD / YYYY



                                                Dawn Kirby
                                               _________________________________________________________________________________________________
                                               Printed name
                                                Kirby Aisner & Curley LLP
                                               _________________________________________________________________________________________________
                                               Firm name
                                                700 Post Road Suite 237
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Scarsdale
                                               ____________________________________________________             NY            10583
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                (914) 401-9500
                                               ____________________________________                              dkirby@kacllp.com
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                2733004                                                         NY
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 4
                     Case 1-22-41393-ess                   Doc 1   Filed 06/16/22         Entered 06/16/22 17:33:59
               Neighborhood Radiology Management Services, LLC

 Debtor                                                                _                  Case number (if known)
              First Name    Middle Name        Last Name



                                                   Continuation Sheet for Official Form 201
10) Pending Bankruptcies

CDP Holdings Group                 EDNY                            06/16/2022                           22-41392
LLC




   Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy
        Case 1-22-41393-ess             Doc 1   Filed 06/16/22    Entered 06/16/22 17:33:59



1-800 Notify                                            American Equity Bank
7950 NW 53rd St                                         5900 Green Oak Drive
Ste 341                                                 Suite 100
Miami, FL 33166                                         Hopkins, MN 55343


626 Holdings, LLC                                       Approved Storage and Waste
1395 NW 17th Ave                                        110 Edison Avenue
Ste 113-114                                             Mount Vernon, NY 10550
Delray Beach, FL 33445

                                                        Astarita Associates
A.J. Richards & Sons, Inc.                              414 Route 111
150 Price Parkway                                       Smithtown, NY 11787
Farmingdale, NY 11735

                                                        Availity/RealMed
Abrams, Fensterman, LLP                                 PO Box 844793
3 DAKOTA DRIVE                                          Dallas, TX 75284-4793
SUITE 300
LAKE SUCCESS, NY 11042
                                                        Beekley Medical
                                                        One Prestige Lane
Accurate Fire Equipment Corp.                           Bristol, CT 6010
251 Franklin Avenue
Franklin Square, NY 11010
                                                        BP Air Conditioning Cor.
                                                        83-40 72nd Drive
Advanced imaging Review                                 Glendale, NY 11385
26 Gladwin Street
Staten Island, NY 10309
                                                        Bronster LLP
                                                        156 W 56th Street, Suite 902
Advocate                                                New York, NY 10019
Attn: Jigar Patel
10567 Sawmill Pkwy, Suite 100
Powell, OH 43065                                        CDP Holdings Group, LLC
                                                        113-02 Queens Blvd
                                                        Forest Hills, NY 11375
Alpha Medical Equipment of N.Y., Inc.
10-12 Pine Court
New Rochelle, NY 10801                                  Chubb
                                                        55 Water Street
                                                        New York, NY 10041
Alpha Medical Equipment of New York, Inc.
c/o Lemery Greisler LLC
677 Broadway, 8th Floor                                 Cleanco Distributors Inc
Albany, NY 12207                                        110 Bi-County Boulevard
                                                        Farmingdale, NY 11735

AME Ultrasounds
                                                        CNA Insurance
                                                        PO Box 6065-02
America's Imaging Center, Inc.                          Hermitage, PA 16148
113-02 Queens Blvd.
Forest Hills, NY 11375
                                                        Comtron
                                                        11 Grace Avenue
America's Imaging Center, Inc.                          Suite 208
c/o Daniel F. Wachtell, Esq.                            Great Neck, NY 11021
90 Broad Street, 23rd Floor
New York, NJ 10004
        Case 1-22-41393-ess          Doc 1   Filed 06/16/22    Entered 06/16/22 17:33:59



Consolidate Edison Comp of NY Inc.                   GE Healthcare-Pharmacy RLS USA INC
4 Irving Place RM 1875                               PO Box 640200
attn: Bankruptcy Dept.                               Pittsburgh, PA 15264
New York, NY 10003

                                                     General Welding Supply Corp
Daniel DiPietro                                      600 Shames Drive
113-02 Queens Blvd                                   Westbury, NY 11590
Forest Hills, NY 11375

                                                     Gerald J Wilkoff, Inc.
Danziger & Markhoff LLP                              P O Box 142
1133 Westchester Avenue                              Mineola, NY 11501-0142
Suite N208
White Plains, NY 10604
                                                     GMM Services LLC
                                                     68 CASTLEWOOD TRAIL
De Lage Landen Financial                             Sparta, NJ 7871
PO Box 41602
Philadelphia, PA 19101
                                                     GreenBills LLC
                                                     345 E 77th Street
Del Prete And Cheng LLP                              New York, NY 10075
111 Atlantic Avenue
Brooklyn, NY 11201
                                                     Guardian
                                                     PO Box 824404
Dr. Rossi, M.D., P.C.                                Philadelphia, PA 19182-4404
545 Elmont Road
11003, NY
                                                     Guerbet LLC
                                                     214 Carnegie Center, Suite 300
Dream Think Imagine, Inc                             Princeton, NJ 8540
170 Bradley Rd
Ste 14
Arden, NC 28704                                      Handi-Lift Service Company Inc
                                                     730 Garden Street
                                                     Carlstadt, NJ 7072
eClinicalWorks
PO Box 847950
Boston, MA 2284                                      Henry Schein
                                                     Box 371952
                                                     Pittsburgh, PA 15250-7952
EDM Medical Solutions

                                                     Hologic Inc
Empire Water                                         250 Campus Drive
46 Cain Drive                                        Marlborough, MA 1752
Plainview, NY 11803

                                                     Horing Welikson Rosen & Digrigilliers PC
Fedex                                                11 Hillside Avenue
PO Box 371461                                        Williston Park, NY 11596
Pittsburgh, PA 15250

                                                     Horizon 27-47 Crescent, LLC
GE Healthcare Inc                                    c/o Douglaston Realty Mgnt Corp
P.O. BOX 640200                                      42-01 235th Street
Pittsburgh, PA 15264                                 Douglaston, NY 11363
       Case 1-22-41393-ess          Doc 1   Filed 06/16/22    Entered 06/16/22 17:33:59



Imported From Florida                               Liberty
Apt 8                                               PO Box 371332
Oakland Gardens, NY 11364                           Pittsburgh, PA 15250


Integrated Document Solutions                       Lightower- LIR
3511 West Commercial Blvd                           PO Box 28730
Fort Lauderdale, FL 33309                           New York, NY 10087


Internal Revenue Service                            Lightower-NRS-FH CROWN
Centralized Insolvency Operations                   PO Box 28730
P.O. Box 7346                                       New York, NY 10087-8730
Philadelphia, PA 19101-7346

                                                    Long Island Radiology Associates, P.C.
iPro IT LLC                                         545 Elmont Road
215-15 Northern Blvd                                Elmont, NY 11003
Bayside, NY 11361

                                                    Luxaire
Jack Jaffa & Associates
147 Prince Street
Brooklyn, NY 11231                                  Magic Pest Management
                                                    59-01 Kissena Blvd
                                                    Flushing, NY 11355
Jackson Lewis PC
44 South Broadway
White Plains, NY 10601                              Map Communications
                                                    PO Box 95117
                                                    Chicago, IL 60694
JM Cleaning Services
55 Windsor Avenue
Rockville Centre, NY 11570                          Marvins Messenger Service


Johnson Controls Security                           Matthew A. Diamant
PO Box 371967                                       113-02 Queens Blvd
Pittsburgh, PA 15250-7967                           Forest Hills, NY 11375


Karl's Plumbing and Heating Inc.                    Matthijssen Business Systems
97-22 Metropolitan aVenue                           PO Box 508
Forest Hills, NY 11375                              Cedar Knolls, NJ 7927


Kaufman Dolowich Voluck, LLP                        Mazars USA LLP
135 Crossways Park Drive                            60 Crossways Park Drive West
Ste 201                                             Suite 301
Woodbury, NY 11797                                  Woodbury, NY 11797


Landauer                                            MED EXCHANGE INTERNATIONAL INC.
PO Box 809051                                       127 RAMAH CIR
Chicago, IL 60680                                   Agawam, MA 1001


Lester Schwab Katz & Dwyer, LLP                     Merit Medical Sustems Inc.
100 Wall Street                                     PO Box 204842
New York, NY 10005-3701                             Dallas, TX 75320
       Case 1-22-41393-ess            Doc 1   Filed 06/16/22    Entered 06/16/22 17:33:59



Mintz Levin                                           NYS Dept. Taxation & Finance
Chrysler Center                                       Bankruptcy/ Special Procedures Section
666 Third Avenue                                      P.O. Box 5300
New York, NY 10017                                    Albany, NY 12205-0300


MLMIC Insurance Company                               Otis Elevator
2 Park Avenue                                         PO Box 13716
New York, NY 10016                                    Newark, NJ 07188-0716


MR. T Carting Corp                                    Payam Toobian, M.D.
7310 Edsall Ave                                       9 Villa Street
Glendale, NY 11385-8220                               Roslyn Heights, NY 11577


National Grid-48695                                   Petrone Associates, LLC
PO Box 11741                                          728 Castlelon Avenue
Newark, NJ 07101-9839                                 Staten Island, NY 10310


Neighborhood Radiology Services PC                    Practice Fusion
113-02 Queens Blvd                                    24630 Network Place
Forest Hills, NY 11375                                Chicago, IL 60673-124


Neighborhood Radiology Services, PC                   PROPIO LANGUAGE SERVICES
113-02 Queens Blvd                                    P O BOX 12204
Forest Hills, NY 11375                                Overland Park, KS 66282-22404


Northpoint Capital Partners, LLC                      PSEGLI 1090410401
6465 Wayzata Blvd.                                    PO Box 888
Suite 650                                             Hicksville, NY 11802
Minneapolis, MN 55426

                                                      PSEGLI 1131201001
Northpoint Commercial Credit, LLC                     PO box 888
6465 Wayzata Blvd.                                    Hicksville, NY 11802
Suite 760
Minneapolis, MN 55426
                                                      PSEGLI 1131201212
                                                      PO box 888
Nuance                                                Hicksville, NY 11802
PO Box 7247-6924
Philadelphia, PA 19170
                                                      PSEGLI 1131201404
                                                      PO Box 888
NYC Corporation Counsel                               Hicksville, NY 11802
100 Church Street, RM 5-240
Attn: Bankruptcy Dept.
New York, NY 10007                                    QUENCH USA
                                                      PO BOX 781393
                                                      Philadelphia, PA 11003
NYC Dept. of Finance
345 Adams Street, 3rd Floor
Brooklyn, NY 11201                                    Radiology Works, P.C.
                                                      545 Elmont Road
                                                      New York, NY 10033
       Case 1-22-41393-ess          Doc 1   Filed 06/16/22    Entered 06/16/22 17:33:59



RADLINX                                             Siemens Financial Services, Inc.
2305 19th Avenue                                    170 Wood Avenue South
Altoona, PA 16601                                   Iselin, NJ 08830


RCN                                                 Siemens Financial Services, Inc.
PO BOX 11816                                        170 Wood Ave. South
Newark, NJ 07101-8116                               Iselin, NJ 8830


Reflex Offset                                       Siemens Financial Services, Inc.
305 Suburban Avenue                                 c/o Todd A. Ritschdorff, Esq
Deer Park, NY 11729                                 Omni Plaza, 30 South Pearl Street
                                                    Albany, NY 12207

Ride Ride Transportation -NRS FH
22-06 Crescent Street                               Siemens Medical Solutions, Inc.
Astoria, NY 11105                                   40 Liberty Blvd.
                                                    Malvern, PA 19355

Ride Ride Transportation- NRS ASTORIA
22-06 Crescent St.                                  Sigma Imaging Technologies, Inc.
Astoria, NY 11105                                   400 Highland Drive
                                                    Suite 400B
                                                    Mount Holly, NJ 8060
Ride Rite Transportation - Empire
23-90 23 Street
Astoria, NY 11105                                   Sigma Imaging Technologies, Inc.
                                                    c/o Matthew Seth Sarelson, Esq.
                                                    2100 Ponce de Leon Blvd, Suite 1290
Ring Central                                        Miami, FL 33134
20 Davis Drive
Belmont, CA 94002
                                                    Signature Financial LLC
                                                    225 Broadhollow Road
RingCentral Inc                                     Suite 132W
20 Davis Drive                                      Melville, NY 11747
Belmont, CA 94002

                                                    Slomin's
RivkinRadler                                        125 Lauman Lane
926 RXR Plaza                                       PO Box 1886
Uniondale, NY 11556                                 Hicksville, NY 11802


Robinsons Oxygen & Medical Gases                    Staples Advantage
920-14 Lincoln Avenue                               Dept NY
Holbrook, NY 11741                                  P.O. Box 415256
                                                    Boston, MA 02241-5256

ScriptSender
319 Clematis St                                     Stein Adler Dabah Zelkowitz LLP
Ste 406                                             1633 Broadway
West Palm Beach, FL 33401                           46th Floor
                                                    New York, NY 10019

Sheathing Technologies, Inc.
                                                    Stericycle Ine
                                                    28883 Network Place
Siemens Financial Services Inc.                     Chicago, IL 60673
170 Wood Ave. South
Iselin, NJ 08830
        Case 1-22-41393-ess                 Doc 1   Filed 06/16/22    Entered 06/16/22 17:33:59



Streamline Verify LLC                                       Ultrasound Solutions Corp.
Streamline HR Management LLC                                123 Comac Street
100 Boulevard of the Americas                               Ronkonkoma, NY 11779
Lakewood, NJ 8701

                                                            United Benefit Solutions LLC
Superior HVAC                                               100 Merrick Road
200-28 Hollis Ave                                           Rockville Centre, NY 11570
St. Albans, NY 11412

                                                            Unitex - 4020
Sylvan Parking                                              155 South Terrace Ave
112-41 Queens Blvd                                          Mt. Vernon, NY 1550-2407
Forest Hills, NY 11375

                                                            UNITEX - 71259
Taansolutions, LLC                                          155 South Terrace Ave
309 Hannah Way                                              Mt. Vernon, NY 1550-2407
Bridgewater, NJ 8807

                                                            UNITEX - 71423
Te Tile                                                     155 South Terrace Ave
131-47 Fowler Avenue                                        Mt. Vernon, NY 10550-2407
Flushing, NY 11335

                                                            Unitex - 71551
Telworx Communications                                      155 South Terrace Ave
800 Westchester Avenue                                      Mt. Vernon, NY 10550-2407
Rye Brook, NY 10573

                                                            Unitex - 71558
Tierpoint LLC                                               155 South Terrace Ave
PO Box 82670                                                Mt. Vernon, NY 1550-2407
Lincoln, NE 68501

                                                            Unitex Textile -70972
Tiger Connect                                               155 South Terrace Ave.
2110 Broadway                                               Mt. Vernon, NY 10550-2407
Santa Monica, CA 90404

                                                            USSONO
TIS International USA - Infinx Healthcare                   3975 57th Street Apt. 7E
PO Box 7109                                                 Woodside, NY 11377
San Francisco, CA 94120

                                                            VANGUARD CLEANING
Trechit Solutions LLC                                       dba Vanguard Cleaning Systems of LI
PO box 2895                                                 67 Buck Road Suite B-45
Aquebogue, NY 11931                                         Huntingdon Valley, PA 19006


U.S. Small Business Administration                          VERIZON 654-434-349-0001-90
2 North Street                                              P.O. BOX 15124
Suite 320                                                   Albany, NY 12212-5124
Birmingham, AL 35203

                                                            Verizon 756-083-030-0001-21
Ultrasound Solutions Corp                                   P.O. BOX 15124
123 Comac Street                                            Albany, NY 12212
Ronkonkoma, NY 11779
       Case 1-22-41393-ess     Doc 1   Filed 06/16/22   Entered 06/16/22 17:33:59



VERSANT MEDICAL PHYSICS & RADIATION SAFET
119 N CHURCH STREET
Kalamazoo, MI 49007


Vibrant Credit Union
6600 44th Avenue
Moline, IL 61265


Water Authority
PO Box 5600
New Hyde Park, NY 11042


WATERLOGIC AMERICAS
P O BOX 677867
Dallas, TX 75267-7867


WILLIAM JORGENSON
MASSAPEQUA PARK
New York, NY 11762


XChange Telecom Corp
P O Box 189112
Brooklyn, NY 11218
         Case 1-22-41393-ess     Doc 1   Filed 06/16/22   Entered 06/16/22 17:33:59




                               United States Bankruptcy Court
                               Eastern District of New York




         Neighborhood Radiology Management
In re:                                                           Case No.
         Services, LLC
                                                                 Chapter    11
                     Debtor(s)




                               Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               06/16/2022                        /s/ Daniel DiPietro
Date:
                                                 Signature of Individual signing on behalf of debtor

                                                  Manager
                                                 Position or relationship to debtor
